             Case 1:21-cv-00465-BAH Document 17 Filed 06/23/21 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

                 Plaintiffs,

   v.
                                                       Case No. 1:21-cv-00465-BAH
YOGANANDA D. PITTMAN, in her official
capacity as Acting Chief, U.S. Capitol Police;
MICHAEL BOLTON, in his official capacity as
Inspector General of the U.S. Capitol Police,

                 Defendants.


                               JOINT MEET AND CONFER REPORT

        Plaintiffs, Jason Leopold and Buzzfeed, Inc., and Defendants, Yogananda D. Pittman, in

her official capacity as Acting Chief, U.S. Capitol Police; and Michael Bolton, in his official

capacity as Inspector General of the U.S. Capitol Police, respectfully submit this Joint Meet and

Confer Report pursuant to Local Rule 16.3(d) and Paragraph 4 of this Court’s Standing Order for

Civil Cases, ECF No. 4. Beginning June 7, 2021, the parties have conferred about the issues set

forth below, and the parties expect to continue conferring as needed as this case proceeds.

        In response to the items listed in Local Rule 16.3, the parties state as follows:

        1.       This case is likely to be disposed of by dispositive motions, specifically cross-

motion for summary judgment.

        2.       The parties do not anticipate joining additional parties or amending the pleadings.

All other parties shall be joined and the pleadings amended by no later than October 14, 2021. The

parties preserve their rights to oppose any request to amend the pleadings or join additional parties.

At this time, the parties are not in position to narrow the factual or legal issues, but they have

agreed to confer about any potential narrowing as the case proceeds.

                                                  1
             Case 1:21-cv-00465-BAH Document 17 Filed 06/23/21 Page 2 of 5




        3.       The parties have not all consented to assignment to a magistrate judge for all

purposes.

        4.       At this stage, it is too early to determine whether there is a realistic possibility of

settling the case; counsel have conferred and have determined that there is no present basis for

settlement discussions, but have agreed to remain open to discussion concerning resolution of

some or all disputes in the case.

        5.       At this stage, the parties agree that the case is unlikely to benefit from the Court’s

ADR procedures.

        6.       As noted above, the parties believe that the case can be resolved by cross-motions

for summary judgment. The parties propose the following briefing schedule for those motions:

                 •   September 16, 2021: Defendants file motion for summary judgment.

                 •   October 14, 2021: Plaintiffs respond to Defendants’ motion and file any cross-

                     motion for summary judgment.

                 •   November 14, 2021: Defendants respond to Plaintiffs’ motion and file reply in

                     support of Defendants’ motion.

                 •   December 6, 2021: Plaintiffs file reply in support of Plaintiffs’ motion.

        7.       The parties have agreed that the initial disclosures that would otherwise be required

by Fed. R. Civ. P. 26(a)(1)(A)(iii)-(iv) should be dispensed with because they are inapplicable in

this case.

        With respect to the disclosures specified by Rule 26(a)(1)(A)(i) and (ii), Plaintiffs propose

that this information be provided by Defendants at the time Defendants file their motion for

summary judgment, and by Plaintiffs at the time Plaintiffs file their cross-motion for summary

judgment. Defendants believe that initial disclosures under Rule 26(a)(1)(A)(i) and (ii) should not


                                                   2
             Case 1:21-cv-00465-BAH Document 17 Filed 06/23/21 Page 3 of 5




be required; if they are deemed required, such disclosures should be made simultaneously by both

parties only if and after discovery has been sought by Plaintiffs and permitted by the Court.

        8.       At this time, the parties do not anticipate the need for discovery. However,

Plaintiffs reserve the right to seek discovery under Fed. R. Civ. P. 56(d) in response to Defendants’

Motion for Summary Judgment should it appear to Plaintiffs that discovery is necessary.

Defendants object to any discovery as unnecessary in this case, which involves a request for

materials under an asserted common law right of access of public records.

        9.       The parties are not aware at this time of any issues about disclosure, discovery, or

preservation of electronically stored information. Defendants have issued an appropriate hold on

the requested materials.

        10.      The parties are not aware at this time of any issues about claims of privilege or of

protection as trial-preparation materials.

        11.      No expert discovery is anticipated at this time, but Plaintiffs reserve the right to rely

on an affidavit from an expert witness as part of briefing on the parties’ cross-motions for summary

judgment. Defendants preserve all objections to purported expert witness testimony introduced in

a manner not permitted by the Federal Rules of Civil Procedure, and reserve their right to conduct

discovery, should they deem it necessary, of any expert witness unilaterally introduced by

Plaintiffs.

        12.      This is not a class action.

        13.      The parties do not anticipate a trial being necessary in this case.

        14.      In the event a pretrial conference is deemed necessary following resolution of cross-

motions for summary judgment, the parties propose submitting a proposed date for any such

conference within 30 days of the Court’s resolution of those motions.

        15.      The Court should not set a firm trial date.
                                                    3
             Case 1:21-cv-00465-BAH Document 17 Filed 06/23/21 Page 4 of 5




       16.       The parties are not aware of any additional matters at this time.



   Pursuant to Fed. R. Civ. P. 26(f)(2) and (3), the parties state as follows:

       (f)(2): The parties request that the conference be deferred until the cross-motions for

summary judgment have been decided

       (f)(3): At this time, the parties do not anticipate the need for discovery. However, Plaintiffs

reserve the right to seek discovery under Rule 56(d) in response to Defendant’s Motion for

Summary Judgment should it appear to Plaintiffs that discovery is necessary. Defendants object

to any discovery as unnecessary in this case, which involves a request for materials under an

asserted common law right of access of public records.



   Pursuant to Paragraph 4(c) of the Court’s Standing Order, the parties state as follows:

       i.        This case involves a request for materials from the U.S Capitol Police and from the

Inspector General for the U.S. Capitol Police. Plaintiffs’ request was made under an asserted

common law right of access to public records. Plaintiffs assert that the statutory basis of the

Court’s jurisdiction is the Mandamus Act. Plaintiffs assert causes of actions brought under the

common law and 2 U.S.C. § 1909(c)(2).

       ii.       The parties request that the Court enter the proposed briefing schedule set forth in

       No. 6 above and have included a proposed order.

       iii.      The parties do not request a conference with the Court before entry of the proposed

scheduling order.



Dated: June 23, 2021                           Respectfully submitted,

                                               /s/ Jeffrey L. Light_______________
                                                   4
Case 1:21-cv-00465-BAH Document 17 Filed 06/23/21 Page 5 of 5




                           Jeffrey L. Light
                           D.C. Bar #485360
                           1712 Eye St., NW
                           Suite 915
                           Washington, DC 20006
                           (202)277-6213
                           Jeffrey@LawOfficeOfJeffreyLight.com

                           Counsel for Plaintiffs

                           BRIAN M. BOYNTON
                           Acting Assistant Attorney General

                           JOHN R. GRIFFITHS
                           Director
                           Federal Programs Branch

                           MARCIA BERMAN
                           Assistant Director
                           Federal Programs Branch

                           /s/ M. Andrew Zee
                           M. ANDREW ZEE (CA Bar No. 272510)
                           Attorney
                           United States Department of Justice
                           Civil Division, Federal Programs Branch
                           450 Golden Gate Ave.
                           San Francisco, CA 94102
                           Tel: (415) 436-6646
                           Fax: (415) 436-6632
                           E-mail: m.andrew.zee@usdoj.gov

                           Counsel for Defendants




                              5
